      Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 1 of 26 Page ID #:66

                                                                                                                                                                                        PLD-C-010

  ATTORNEY OR PARTY WITHOUT ATTORNEY(NAME AND ADDRESS):                                  TELEPHONE: 949.ggO.SS g9                                          FOR COURT uSE ON~v:
  Helen Yu
  18 Technology Dr. Suite 138, Triune, CA 92618

  ATTORNEY FOR(NAME):                                                                                                                                        t—                 ,~-.
                                                                                                                                                                     t          X39
  Insert name of court, judicial district or branch court, if any, and post office and street address:
  United States District Court, Centerail District of California                                                                                    ~ ~f          —~
  411 West 4th Street, Room 1053 Santa Ana, CA 92701-4516                                                                                           ~~~~ . _ ' ~,

                                                                                                                                                            •            ~fi7



  PLAINTIFF:                                                                                                                                           ~        ~'c,-' ~^;'
                                                                                                                                                                   ~`t~'.a             LJ1
  URBANLIP.COM LTD.                                                                                                                                                 -~~~               ~"
  DEFENDANT:
  Helen Yu & LeReve Skin Institute Inc.

                                                                                                                                              CASE NUMBER:
                                               ANSWER—Contract
 0 TO COMPLAINT OF(name):
                                                                                                                                                   8-18-cv-01685-DOGJDE
            TO CROSS-COMPLAINT(name):


        1. This pleading, including attachments and exhibits, consists of the following number of pages:                                              ~--~
       2. DEFENDANT (name): Helen Yu & LeReve Skin Institute Inc
          answers the complaint or cross-complaint as follows:
           Check ONLY ONE of the next two boxes:
           a. ~ Defendant generally denies each statement of the complaint orcross-complaint.(Do not check this box if
                   the verified complaint orcross-complaint demands more than $7,000.)
           b. ~✓   Defendant admits that all of the statements of the complaint or cross-complaint are true EXCEPT:
                  (1) Defendant claims the following statements are false (use paragraph numbers or explain):
                                    Paragraph 13 to 25:
                                    Defendant Yu's 2012 Infringement of Urbanlip Photographs

                                    Paragraph 26 to 36
                                    Defendants' Willful Infringement of Urbanlip's Images

                                    Paragraph 37 to 42
                                    First Caust of Action Copyright Infringement 17 U.S.C. 101 et seq

                                0 Continued on Attachment 3.b.(1).
                         (2j Defendant has no information or belief that the following statements are true, so defendant denies them (use
                             paragraph numbers or explain):




                                      0 Continued on Attachment 3.b.(2).
                                          If this form is used to answer a crosscomplaint, plaintiff means cross-complainant and defendant means cross-defendant
                                                                                                                                                                                             Page 7 of 2
 Form Approved for Optional Use                                                                                                                                   Code of Civil Procedure,§ 425.12
   Judicial Council of California                                     ANSWER—Contract
PLaC-010[Rev. January 1.2007]                                                                                                                                                     ~~~~ ~ 9~V
    Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 2 of 26 Page ID #:67

                                                                                                                            PLD-C-010
    SHORT TITLE:                                                                                     CASE NUMBER:

    URBANLIP.COM LTD VS. LEREVE SKIN INSTITUTE Inc &Helen Yu                                             8-18-cv-01685-DOGJDE

                                                                          ANSWER—Contract
   4. Or         AFFIRMATIVE DEFENSES Defendant alleges the following additional reasons that plaintiff is not
                 entitled to recover anything:

                 1.I, Helen Yu(Defendant), served as CEO of Merveille Beauty &Health Inc in 2012. I was not the
                 shareholder nor legal representative of Merveille Beauty &Health Inc. The operation of Merveille
                 Beauty and Health Inc was suspended on March 2013.

                 2. In May 2012,I did oversee the marketing clerks to develop company website to promote the
                 products named "D' LuxePeel" & "D1uxeDerm" .Being respectful to the copyright law, I
                 inquired several stock photography companies to do budgeting. The marketing clerks downloaded
                 and selected images. Urbanlip might be one of the companies that I inquired on behalf ofthe
                 company. However, both the company and I never used any copyright protected photograph before
                 the official releasing ofthe website and social media and product launch. in Aug 2012.




                          Continued on Attachment 4.

   5.0 Other




   6. DEFENDANT PRAYS
      a. that plaintiff take nothing.
      b. ~ for costs of suit.
      ~. ~ other (specify):




         Helen Yu
         .........................................................................                           (~ ~Z ~~
                                    (type or print name)                                     nature of party or attorney)


PL6C - 010[Rev. January 1, 2007)                                                                                              Page 2 of 2
                                                                         ANSWER—Contract
Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 3 of 26 Page ID #:68                               F


 Case: 8:18-cv-01685-DOC-JDE RESPONDED 10/12/2018

                                         Attachment 4
 AFFIRMATIVE DEFENSNES Defendant alleges the following additional reasons that plannitiff is

 not entitled to recover anything.


                                      Paragraph 13 to 25:
   Defendant Yu's 2012 Infringement of Urbanlip Photograph Defense
 1. i, Helen Yu (Defendant), served as CEO of Merveille Beauty &Health Inc in 2012. I was not the
    shareholder nor legal representative of Menreille Beauty &Health Inc. The operation of Merveille

     Beauty and Health Inc was suspended on March 2013.



 2. In May 2012, I did oversee the marketing clerks to develop company website to promote the
     products named "D'LuxePeel" & "DluxeDerm". Being respectful to the copyright law, I inquired
    several stock photography companies to do budgeting. The marketing clerks downloaded and
    selected images. Urbanlip might be one of the companies that I inquired on behalf of the company.
     However, both the company and 1 never used any copyright protected photograph before the
     official releasing of the website and social media and product launch. in Aug 2012.


 3. The clerks might use the certain phototrophs during the design and testing. However, if so, the
     rights should be pre-authorized by the copyright owners. Otherwise each image should be marked
     with watermark or copyright statements. This is the common practice in stock photography

     industry.


 4. In May 2012. Merveille beauty was approached by Urbanlip for licensing fee. As CEO, I responded
     immediately and showed our willingness to pay the license fee if our company selected their
     photographs to use for launch. I delegated Stephanie Guo,the marketing clerk who was in charge of

     photographs selection, downloading, copyright purchase and website design to handle the matter.


 5. At the same time, I instructed the clerks to immedicably take off the photographs owned by
     Urbanlip in the test-run website and replace with other royalty free pictures. Specifically, on May 25
     2012, we purchased 12 royal free stock free photographs from MASTERFILE, a stock photography
     company as in Exhibit A: purchase history dated on May 25, 2012 under my name "Helen Yu")
                                                                                                             S
Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 4 of 26 Page ID #:69

 Case: 8:18-cv-01685-DOC-JDE RESPONDED 10/12/2018

6. On Aug 15, 2012, before Merveille launched products D'LuxePeel and D'LuxeDerm and website,
    Stephanie Guo, who 1 assigned to handle Urbanlip matter, purchased the license of usage of the
    specific photography of Urbanlip demanded for license fee from MASTERFILE 6y paying $1100
    dollars with proof in Exhibit A PAGE 3: Photography 847-03719679:under name of Stephanie

     Guo as the purchasing person). Given the threating email from Urbanlip we received in May 2012,
      firmly believe that the reason that she chose to purchase from Masterfile instead of Urbanlip
     directly was that Merveille already had license history with Masterfile, Masterfile conducted the
     business with integrity. We wanted to be well protected.


 7. in 2012, Merveille Beauty and Health Inc,the company !served, did purchase the license of the
     photography Urbanlip claimed from Maste~le. Merveille was the owner of the products of
     D'LuxePeel & D'LuxeDerm, not me. Hence,the statement of complaint "Yu's infringement of
     Urbanlip Photograph Defense" is false.




                                       Paragraph 26 to 35
              Defendants' Willful Infringement of Urbanlip's Images
 8. I, Helen Yu,am the president of LeReve Skin Institute Inc. LeReve Skin Institute Inc is solely owned
     by me.


 9. In 2017, LeReve Skin Instituted started to test market and commercialize the medical aesthetic
     products under brand name "RevePeel" and "ReveSkin" in the medical offices. Products are
     promoted by printing ads/ displays in the medical offices and social media site mainly on Instagram
     & Facebook. Total active clients with purchase is less than 30 medical offices.


 10. Numerous photograhs are used on print ads and social media by our marketing contractors and

     clerks. The sources of photographs are

         a. Shutterstock,the stock photography company that LeReve use (Exhibit B: License history in
              2017 to 2018)
         b. Real patients and real models with the factual statement of each picture (Exhibit C
         c. Company stock photography database that consists more than 100 photographs cumulated
              by the clerks or the contractors. The sources of these pictures could be from website google
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            search or from company's skin care raw material vendors' brochure with copyright release
            to us as in Exhibit C)

    Both LeReve and I respect photography copyright law, even as a startup company with limited
    human resources.

 11. In July 2018, the company received a "settlement communication" letter dated July 10, 2018 from
     Higbee &Associates Claim number 515283, Exhibit D).
        a. The letter opened with false statement "... After making several unsuccessfully efforts to
            resolve a copyright matter(PicRights[laim Number 171733252938) with LaReve Skin
            Institute Inc...." Neither the company or I personally received any communications in any
            form from Urbanlip.com Ltd, Higbee &Associates, PicRights Ltd and /or any 3`d party
             regarding the matter they stated in the letter. If these efforts as claimed in the letter exist,
             please provide the evidence to the court.
         b. Higbee &Associates claimed copyrights of several pictures we used on social media and
             print ads, though the letter didn't contain any photographs registration certificates.

         c. The letter required $15,480 payment in 14 days to "resolve" the matter for generic images,
             without providing the Urbanlip licensee fee standard
         d. Before this "settlement communication" letter, LeReve and I never received any cease and
             desist letter regarding these images that Urbanlip claimed.


 12. However, after receiving the letter, the company and I immediately did research. Both the company

     and I have never created the account and downloaded any images from Urbanlips. The website of
     Urbanlips is protected. There is not possible that we could download any images to conduct
     intentional or unintentional infringement. (See exhibit E Urbanlip website account login page).


 13. These images are in our company photo database. But the employees changed. Specifically,

     Stephaine Guo, the clerk handled Urbanlip matter in Merveille in 2012, has never worked for
     LeReve and me after 2012, We are not in touch. The reason the company used these images in
     some printing ads and/or social media is because there were not watermarks or copyright
     statement on. We firmly believed that these pictures are fair of use or Royalty free, it is the
     common practice of stock photography industry, like Shutterstock,the only vendor LeReve is
      working with. All images are with watermarks before purchasing the license.
                                                                                                            J

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 Case: 8:18-cv-01685-DOC-JDE RESPONDED 10/12/2018


 14. Even though,showing the respect of copyright law, LeReve immediately took off these images on

    social media site, informed all medical providers who carry the print ads and have related digital
     images, destroyed all printing ads and replaced the ads with new photography (See exhibit F ),


 15. I personally responded on July 26th,2018 with written letter (See exhibit G} mailed to Higbee &

     Associates. I also responded via email to Higbee Associate on July 30, 2018 to demonstrate our
     company cooperation, however as a small startup company, we were not able to pay such a high

    "statue damage"fee $15,900 they claimed. These images are generic stock photos for decoration
     purpose only, having no any relation with the medical aesthetic product benefits. The license fee of
     the similar images we use to replace are $229 for 25 images from Shutterstock. In July 30, we

     communicated with Higbee and Association via email (Exhibit G), requiring reasonable license fee

     proposal (see Exhibit H). We didn't get any response except keeping on pushing us to "settle" with

     the amount neither reasonable nor affordable by our company and myself. Paragraph 33

    "Defendants refused to resolve the matter or license the images" is false.


 16. I, Helen Yu, has never used Urbanfip photography in person without a license, nor does LeReve
     Skin Institute Inc, The previous company I served, Merveille Beauty, used photography in 2012

     with the purchase of copyright. Paragraph 36 "Defendant Yu has previous used Urbanlip
     photographs without a license, including one of Images,through her previous company Merveille
     Beauty in 2012" is false.
Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 7 of 26 Page ID #:72




                        Exhibit "a"
                                                                                                                                         7
            Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 8 of 26 Page ID #:73
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J~.~~i~                          ~                           MasterfileCorporadon              416-929-3000
                                                                                               800-387-901 toll free
                                                             3 Concorde Gate. 4th Floor
  ~                                                          Tor~to, Ontario, Canada M3C 3N7   416-929-2704 fax
                                                                                               finance@maste~le.com




RM and RF License History Report_for MERVEILLE BEAUTY &HEALTH
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947-03719679 (Rbn



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       Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 11 of 26 Page ID #:76
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                                    Page 4
Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 12 of 26 Page ID #:77




                                              Exhibit "B"
                           LeReve License History with ShutterStock

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 License History


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 All stock images are with watermark before purchasing license
Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 13 of 26 Page ID #:78




                                                                        Exhibit"C"
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                        Exhibit "D"
Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 15 of 26 Page ID #:80                                I~

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                                                                                 7~~ S-y ~ f ~q~~
       July 10, 2018,


      Re: Claim Number: 515283 FRE 408 Settlement Communication


      Dear Sir or Madam,

            The Law Firm ofHigbee &Associates represents Urbanlip and PicRights Ltd. yAf~er
      making several unsuccessful efforts to resolve a copyright matter(PicRights Claim Number
      171733252938}.with La.Reve Skin Institute Inc, they have now hired our law fum to pursue
      this claim. There is still time to resolve this matter before it gets more expensive and
      possibly ends up in court. You may wish to hire an attorney and forward this matter to them.

           Please see the attached exhibits that show the use of the copyrighted works and the
      alleged infringing use. IfLaReve Skin Institute Inc has a license to the use the unage, please
      let us Irnow so that we can close this case and apologize for the inconvenience. You can
      email me at claims@higbeeassociates.com.

           If LaReve Skin Insritute Inc does not have a license, we believe the use of the work is a
      violation ofThe Copyright Act, Title 17 ofthe United States Code. If forced to go to court
      to resolve the matter, my clients will ask for the maximum relief possible, which, depending
      on the circumstances, may include statutory damages under 17 U.S.C. §504 for up to
      $150,000 for intentional infringement or $30,000 for unintentional infringement. My clients
      would also ask the court to have LaReve Skin Institute Inc pay court costs and attorney's
      fees.

           Copyright lawsuits can result in judgments, wage garnishments and liens on property. In
      some instances, the business owner can be held individually liable. We are contacting you
      now because our clients sincerely want to resolve this matter without forcing LaReve Skin
      Institute Inc to go to court and incur the attendant costs oflitigation.

           Our clients are now demanding that LaReve Skin Institute Inc pay $15480 to settle this
      matter. This amount takes into account the normal licensing fee, the costs incurred in
      detecting and pursuing the unauthorized use, and the nature of the use. If you believe there
      are factors that should make this amount lower, please let us lrnow by calling us or sending
      us email.

          To resolve this matter efficiently and amicably out of court, return the attached Release
      License Agreement, along with your payment in the form of a valid cashier's check 'or money
      order for $15480 payable to "Higbee &Associates Client Trust Account". This can be
      returned to us via US Mail. You can also pay with a check or credit card over the phone or
      online at http://copyright.higbeeassociates.com/resolution. Your login is 515283. Your
      password is pomi5x7b. If you choose to make your payment online, you can return the
      Release License Agreement via email. Please include the case number(515283)in the
      subject line.

          If we do not hear from you within 14 days from the date of this letter, we will have no
      choice but to take this to mean that LaReve Skin Institute Inc does not have a license and
      does not want to settle this matter out of court.


      Claim number: 515283                                              Printed: July 10, 2018 13:15
                                                                                                                   ~c
Case 8:18-cv-01685-DOC-JDE Document 18 Filed 10/15/18 Page 16 of 26 Page ID #:81




       the remaining provisions and applications of this Agreement will not be affected, but will remain
       valid and enforceable.

       12. This Agreement will be governed by and construed in accordance with the laws of the State of
       California, without regard to conflict of law principles, notwithstanding the fact that one or
       more counterparts hereof may be executed outside of such state, or one or more of the obligations of
       the Parties hereunder are to be performed outside of such state. Any suit, action or proceeding
       todetermine, construe or enforce any provision of this Agreement, or the rights of any
       party hereunder, will be brought in the State of California, and the Parties agree that jurisdiction will
       lie therein.

       13. If a suit, action, arbitration or other proceeding of any nature whatsoever is instituted
       in connection with any controversy arising out of this Agreement, or to interpret or enforce any
       rights under this Agreement,the prevailing party is entitled to recover reasonable costs and
       attorney's fees from the other party.

       14. Payments that are received more than 5 calendar days late will be accessed a $40 late fee.
       Addi#ionally, an interest rate based on a 15% per annum will be cha~+ged on overdue balances after
       30 days.

       15. This Agreement constitutes and contains the entire agreement between the Parties with respect
       to the alleged unlicensed use referred to in this Agreement and there are no other
       agreements, understandings or representations with respect to this subject matter, which are not
       expressly set forth herein.


      Sir or Madam                                                            Date
       On Behalf of
       Licensee(s)LaReve Skin
       Institute Inc



         f'~ F~               ~/ ~




                                                                              July 10, 2018
      Mathew K. Higbee, Esq.                                                  Date
      on Behalf of Licensors)
      Urbanlip




      Case number: 515283                                                       Printed: July 10, 2018 13:15
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                             RAPID CONDITIONAL RELEASE LICENSE AGREEMENT

       This RAPID CONDITIONAL RELEASE LICENSE AGREEMENT("Agreement') is entered into on July
       10, 2018 (`Effective Date") by and between Urbanlip ("LICENSOR")and LaReve Skin Institute
       Inc("LICENSEE"){the "Parties" or individually the "Party").

       The Parties agree as follows:

       1. The Parties acknowledge and agree that this Agreement is made in resolution to the LICENSEE's
       alleged unlicensed use of images)referenced in the Exhibits) below ("Images").

       2. LICENSOR hereby represents and warrants that it has the exclusive rights in the settlement
       and resolution of the claims related to the alleged unlicensed use of the copyrighted Images,
       including the rights to grant licenses for past and future use, and righ#s to grant releases from future
       claims.

                           GRANT OF RETROACTIVE LICENSE TO COVER PAST USE

       3.
       In consideration of the license and other consideration granted herein,LICENSEE will pay to
       LICENSOR the sum of $15,480.00 in U.S. Dollars (the "Payment") within fourteen (14) days after the
       Effective Date.
       a. Upon Payment in full, LICENSOR will grant LICENSEE anon-exGusive, non-sub licensable
       and non-assignable retroactive license, with the term commencing with the beginning of time
       and concluding upon the Effective Date.
       b. The LICENSEE will be granted rights to use the Images only within the limited scope as shown in
       this Agreement.
       c. The LICENSOR will retain all rights, interest and ownership in derivative works containing
       the Images, in whole or in part_
       d. Payment shall be made payable to "Higbee &associates Client Truck Account" and delivered
       to 1504 Brookhollow Dr., Suite 112, Santa Ana, CA 92705. Payment may also be made online at
       http://copyright.h igbeeassociates.com/resolution

                                     ADDITIONAL TERMS AND CONDITIONS

       4. Except for the agreements, obligations, and covenants arising under this Agreement, the
       Parties will release the other party from any and all Gaims arising fmm the use of the Images

       5. The Parties acknowledge that all terms of this Agreement are supported by legally
       sufficient consideration so as to make this Agreement binding and valid.

       6. All of the Parties will pay their own costs and expenses incurred in negotiation and preparation and
       execution of this Agreement_

       7. The terms of this Agreement are confidential; provided however, that each Party may disclose the
       terms of this Agreement, as necessary to enforce its terms, in response to valid legal process or as
       otherwise required by law, and/or to its financial advisors and/or legal advisors.

       8. The Parties represent and warrant that they have read and understand the provisions of
       this Agreement and have fufi authority to execute and consummate the transactions contemplated
       by this Agreement.

       9. This Agreement may not be modified or amended except by written agreement, signed by
       all Parties.

       10. This Agreement, along with its terms and conditions will be binding upon and inure to the benefit
       of each of the Parties and to their heirs, executors, administrators, successors in interest and assigns.

       11. The Parties acknowledge that if any provision or application of this Agreement is held invalid or
       unenforceable then any such provision will be deemed severed from this Agreement and

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                                  CREDIT CARD PAYMENT AUTHORtZATiON FORM

       The Law Firm of Higbee &Associates offers interest-free payment plans through our automated
       billing system. Sign and complete this form to authorize the Law Firm of Higbee &Associates to make
       the agreed upon credit or debit prd or ACH payments. Licensee agrees to pay the settlement
       amount of $15,480.00 in 1 automatic payment.

       By signing this form you give us permission to bill your credit/debit card or bank account for
       the amount indicated on the dates above plus any additional fees, penities, or interest charges which
       have accrued in accordance with the Rapid Conditional Release License Agreement ("Settlement
       Agreement'). This is permission for all transactions related to the Settlement Agreement, and does
       not provide authorization for any additional unrelated charges.

       Please complete the information below:

       PAYMENT METHOD (Please Choose One &Provide Requested Information):

       CREDIT CARD
       Name as it Appears on Card:
       Credit Card #:
       Expiration Date:                             CCV {Security Code):
       Billing Address:

       ACH /DIRECT DEPOSIT
       Name on the Account:
       Account Type: p Savings p Checking
       Account #:
       Routing #:
       Bank Name:

        hereby authorize The Law Firm of Higbee and Associates to automatically bill my account on the
       dates indicated in the payment plan above.

       PRINT NAME:
       TITLE:
       COMPANY:

       Signature:                                                            Date:

         authorize the above named business to charge the credit prd indicated in this authorization form according to
       the terms outlined above. This payment authorization is for the goods/senrices described above,for the amount
       indicted above only, and is valid for the specified use only. I certify that I am an authorized user of this credit
       card and that I will not dispute the payment with my credit carts company; so long as the transaction corresponds
       to the terms indicated in this form.




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                      Exhibit "E"

                      Urbanlip home page.




    The website of Urban lips is fully protected. No one
    can log in and download any images without setting up
    the account and logging in.
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                         Exhibit "G"
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               _~~~~~~l~ ~ ~."-3 ~:~s~~Gu~e       Juiy 26"°- 203
       ~~ ~e~~~~lL,~~~ #fir. ~:~st~'~~            Matthew K ~ ~ligbee. Esq
                      '
                      i 4~ :`4, ~~n ~~-~~~        Re: Claim Number 515283


                  V I I E~L. .~~~~-~+'1:..~i34~   To whom ~~~may concerned

                     V                            Recently we received your letter with claim number 515283
     ----     -                      - ---        hosted an .lu{y 19 and we did talk to one of your associates
                                                  yesterday Juiy 25 morning. Unfornate#y your email didn't
                                                  work.

                                                                                       we use on ouf socia{ media
                                                  SOP t~1~ ~IC'~UfE'.S i~t ~/OU4'[I81i7! f~'13t

                                                  any! some advertising material, we had no idea t{~at "~Jrbanfip"
                                                  that company has the copyright, We never had any business
                                                  r~latianship ~rrith them either setting up the account or
                                                  dov~nload pic~ures from t~e~r ~etasite. Their weiasite is
                                                  password protested, and all pictures are with the
                                                  watermark,. Our company has never registered tie account
                                                  with Urbanlip nor being able to downbad any pictures. If so.
                                                  Please provide the evidence.

                                                  We do use tots of pictures. Some are pubiicfy available on
                                                  Internet, for any pictures with copyright, we purchased from
                                                  the vendor like Shutterstack_ !f the pictures wit€~out copy
                                                  right stated, we have not way to contact the a~vner of the
                                                  i mages. There are numer~u~ pictures available Can i~?i~~t~et f~7r
                                                  public use.

                                                  Sut we totally understand. So we already started to remove
                                                  the pictures you cEaimed on our company social media pages.
                                                  in the last few days. As of today .fuly ~6, it is clean.

                                                  !i any images atready released to our clien-cs, it may take t~s
                                                  some tune to inform them to remove, we are in the process
                                                  anc~ hope can be clean in the next 2 weeks.
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                            iNhether we cvnti+~~e to use their pictures in the Tuture, we
                            would like ~o knave the price, ifi reasonable and within our
                            budget, we will consider to use F~~ paying t#~e loyalty



                            ~a~~ flveraEl; w~ ire" able tQ ~sa~ the a~o~e~~ ~sf ~ea~aE fee
                            ~ro~ ~fa~ ec~ in ~~r~ ~~rnrv~ue~ecation letter. '~I~ are a ~~a~~
                            and start ug company. But the most im~ortan~ o§
                            all, t!rl~anfip has no ground ar~d evidence to put a claim
                                        They should provide t ae e~ride~m~e that Qur
                            ~g~f13Sf lt5.
                            corr~pany has downloaded the pict~r~s from them ~~~uer,
                                                                                         ~~
                            not, we ~an~aot responsible fs~r their own fatta~re ~~ reieas
                                                                                          ir~g
                        the image tv ether a~blic sources w~t~~~t copyright nonce.
                        Your claim is inualad.



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                        ~re dent, LeReve Skin Institute fnc.




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Helen Yu

From:                             Helen Yu <helen@skinlereve.com>
Sent:                             Monday,July 30, 2018 1:23 PM
To:                               'Cody Donnell'
Subject:                          RE: Copyright (Legal)- LeReve Skin Institute- Urbanlip- 515283


Just be clear, ur6anlip website is fully protected, it is not possible to check any pictures on their website without
registering the account. Our company has never set up any account with them. We haci no knowledge that their
company owned these images till we received this claim, this company even never ever contacted us before raise the
claim without any evidence that we accessed the pictures from them.

If they want to protect their copyright, they should have managed their images like any other professional stack picture
providers like Shutterstack. We are not responsible for their management failure.

However, we understand and show the respect, so we are already showed our cooperation by taking out these images
as soon as we receive your notice. Sut we are not able to pay the "statue damage" fee which caused by themselves and
so high. FYI. Average stock picture price like Shutterstock is 25 images fior $229. This is our budget.

Thank you

Helen

  2gl~Qee'~, ~~~fe~~Ci~17N1, ~~~~i/~ S~C1~1 ~~iSti~~l~~ ~~'1~, Dream Skin Starts From Innovation
18 Technology Dr. Suite 138. Irvine, CA 92618
Office: 855.358.9348; Fax: 949.861.6177; ~ei~: 94~~.~d7.~5~9 (~) ~~ed)
Customer Service (Voice &Text): 949.331.5508
~n€~r~r.rewe~ei.~~et~ I F~cebook@reve~eed I t~stagr~~rev~pee!_revesicir~
~E'eV£ ~ldi~~~~1~2~ Dare fia D~earr► is anon-profit 501 C U.S. public charity to empower women and girls,
promote gender equality, help low income children worldwide on education and support female entrepreneurs. We
donate 5% of LeReve net sales to LeReve Foundation. Thank you for being part of LeReve Foundation by purchasing
and promoting RevePeel and RedeSkin

From: Cody Donnell <cdonnelt@higbeeassociates.com>
Sent: Monday, July 30, 201811:58 AM
To: Helen Yu <helen@skinlereve.com>
Subject: Copyright (Legal)- LeReve Skin Institute- Urbanlip- 515283

 Dear Helen Yu,

To clarify, these images are registered and protected under copyright law. Hpwever we are no longer seeking the cost of
what these images would have been charged for, we are seeking statue damages due to the fact that an infringement
occurred. For state damages the only thing that needs to be proven is the fact that these images were registered prior
to the date of infringement. This is why we are seeking for statue damages. Therefore the base cost of-the license of
these images is no longer, nor has been an offer at this time.

 Secondly, you have the obligation as a business owner to verify every image that you use to promote your business. It is
 your responsibility to find and contact the owner of any image that you use. Failure to do so will have you run the risk of
                                                                                                                                             ~L
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 i nfringing upon other peoples images. Simply finding the image on the Internet does not give you permissi
                                                                                                            on to use the
 image without paying, getting expressed permission, or a free pass to not do your own research on
                                                                                                    the image.

Thirdly, if you visit Urbanlip you can see that these images are their images to license, and this
                                                                                                   should have been part of
your verification process during the research that should have been done prior to the posting of
                                                                                                     them. You can clearly
see that they were even watermarked on their website to show ownership. In addition since 1989,
                                                                                                       watermarking is not
required to be able to seek damages of any kind, once again it is the responsibility of the business owners
                                                                                                             to research
who owns the image, it is no the image providers responsibility,.

 If you cannot provide the initial amount, please submit a counter offer in regards to settling
                                                                                                          this matter.
Thank you for your time.



Cody Donnell
Claims Resolution Specialist
Copyright Division

Law Offices of Higbee 8~ Associates (~tFp:// ~bv.Higbee,4ssociates.com)
1504 Brookhollow Dr. Suite 112, Santa Ana, CA. 92705
DIRECT PHONE:(714)597-8993
Phone:(800)716-1245 - Fax:(714)597-6559




                                        >> . _ _
CONFIDENTIALITY NOTICE:
The contents of this email message and any attachments are intended solely for the
                                                                                      addressees) and may contain confidential and/or
privileged information and may be legally protected from disclosure. If you are not the intended
                                                                                                 recipient of this message or their agent,
or if this message has been addressed to you in error, please immediately alert the sender
                                                                                             by reply email and then delete this message
and any attachments. If you are not the intended recipient, you are hereby notified that any
                                                                                             use, dissemination, copying, or storage
of this message or its attachments is strictly prohibited.


         On Jul 30, 2018, at 11:42 AM, Helen Yu <~elent~skirleFeve.com> wrote:

         Hello,

         We responded your claim by mai! to your office. you supposed to receive it today.

         Attached our response in PDF fiie.

         You did mistranslate our conversation. We never said we don't responsible far
                                                                                       the pictures wre use.
            • It the pictures are copy right protected with the claim, we contact the owner
                                                                                             and purchase the
                 copy right, like from Shutter stock
            • If the pictures for public use without copy right protected and claim the owner.
                                                                                                We have no
                 way to contact the owner of the company.
            • Urbalnlip website is protected, there is no way we can download pictures
                                                                                         from their website. we
                  never set up any accounts with them nar could we download any pictures from
                                                                                              their website. ff
                  so. Please provide evidence.

        So regarding this claim, we can remove the images, which we already did and are inform
                                                                                                              our cfi~nts. Sut
        we cannot pay such a high fee.
                                                                                                           ~C
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 If in the future, we want to purchase the picture from them, first they should drop this claim ,then we
 will consider. We buy pictures from various vendors.

 Thank you

 Helen
